                                                                                                               Form:ntc7clwd

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan
                                            211 West Fort Street
                                              Detroit, MI 48226


                                               Case No.: 18−51526−tjt
                                                     Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Sharon Turner
   8335 Normile
   Detroit, MI 48204
Social Security No.:
   xxx−xx−7878
Employer's Tax I.D. No.:


                     NOTICE OF CHAPTER 7 CASE CLOSED WITHOUT DISCHARGE

All creditors and parties in interest are notified that the above−captioned case has been closed without entry of
discharge as Debtor(s) did not file Official Form 423, Certification About a Financial Management Course.


Dated: 1/24/19
                                                                     BY THE COURT



                                                                     Katherine B. Gullo , Clerk of Court
                                                                     U.S. Bankruptcy Court




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